     Case 4:21-cv-02155-YGR         Document 688   Filed 03/15/24   Page 1 of 5




 1 Elizabeth C. Pritzker (Cal. Bar No. 146267)
   Jonathan K. Levine (Cal Bar No. 220289)
 2 Bethany Caracuzzo (Cal Bar No. 190687)
   Caroline Corbitt (Cal Bar. No. 305492)
 3
   PRITZKER LEVINE LLP
 4 1900 Powell Street, Suite 450
   Emeryville, CA 94608
 5 Tel.: (415) 692-0772
   Fax: (415) 366-6110
 6 ecp@pritzkerlevine.com

 7 jkl@pritzkerlevine.com
   bc@pritzkerlevine.com
 8 ccc@pritzkerlevine.com

 9 Interim Class Counsel

10

11
                              UNITED STATES DISTRICT COURT
12                          NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
13

14                                                 Master File No. 4:21-cv-02155-YGR-VKD

15                                                 DECLARATION OF JONATHAN K.
     IN RE GOOGLE RTB CONSUMER                     LEVINE IN SUPPORT OF JOINT
16   PRIVACY LITIGATION                            OMNIBUS SEALING MOTION RE.
                                                   PLAINTIFFS’ CLASS CERTIFICATION
17                                                 MOTION AND RELATED FILINGS
                                                   PER FEBRUARY 9, 2024 ORDER (ECF
18
     This document applies to all actions.         674) - RE. PLAINTIFFS’
19                                                 CONFIDENTIAL INFORMATION

20                                                 Judge:       Hon. Yvonne Gonzalez Rogers
                                                   Courtroom:   1, 4TH Floor
21

22

23

24

25

26

27

28
      DECL. OF J. LEVINE I.S.O. JOINT OMNIBUS SEALING MOTION RE. PLFS.’ MTN. FOR CLASS
             CERTIFICATION AND RELATED FILINGS PER FEB. 9, 2024 ORDER (ECF 674)
                                                           Case No. 4:21-cv-02155-YGR-VKD
     Case 4:21-cv-02155-YGR          Document 688         Filed 03/15/24      Page 2 of 5




 1

 2          I, Jonathan K. Levine, hereby declare as follows:

 3         1.      I am a partner at Pritzker Levine LLP, an attorney licensed in the State of California,

 4 and duly admitted to practice before this Court. On August 3, 2021, Pritzker Levine partner

 5 Elizabeth C. Pritzker was appointed to serve as Interim Class Counsel on behalf of plaintiffs. See

 6 ECF No. 77. This declaration is made in support of the parties’ Joint Omnibus Sealing Motion,

 7 submitted regarding materials cited in Plaintiffs’ Motion for Class Certification and related filings

 8 by both parties and third parties (“Omnibus Sealing Motion”). The Omnibus Sealing Motion and

 9 Declaration are submitted in compliance with the Court’s February 9, 2024 Order, ECF 674.I have

10 personal knowledge of the facts stated herein and, if called upon to do so, could and would testify

11 competently thereto.

12         2.      Plaintiffs, as Designating Party, respectfully request that the Court seal the following

13 portions of Plaintiffs’ and Defendant Google, LLC’s (“Google”)’s filings related to Plaintiffs’

14 Motion for Class Certification, Google’s Opposition thereto, and Plaintiffs’ Reply in support:

15              a. Portions of the Expert Class Certification Report of Professor Zubair Shafiq,

16                 submitted by plaintiffs as Exhibit 1 in support of Plaintiffs’ Motion for Class

17                 Certification, (sealed version: ECF 545-5, public version re-redacted by Google:

18                 ECF 558-5) at ¶ 42(b), Table 2 to ¶ 42(e), ¶ 42(f), ¶ 46(a)-(g), and FNs 18, 19, 23,

19                 24, 25, 26, 27, and 28. This data reflects sensitive personal information of the named

20                 plaintiffs, including the “verticals” into which Google classified them, their location,

21                 and their search history.

22              b. Portions of the Expert Class Certification Report of Professor Christopher Wilson,

23                 submitted by plaintiffs as Exhibit 2 in support of Plaintiffs’ Motion for Class

24                 Certification, (sealed version: ECF 545-6; public version re-redacted by Google:

25                 ECF 558-6), at Table 5 in ¶ 95, left-most column entitled “Google account” only.

26                 This column identifies the named plaintiffs’ Google account names which are

27                 portions of their Gmail email addresses with which they could be contacted against

28                 their wishes and which are therefore personal and private information that should

      DECL. OF J. LEVINE I.S.O. JOINT OMNIBUS SEALING MOTION RE. PLFS.’ MTN. FOR CLASS
             CERTIFICATION AND RELATED FILINGS PER FEB. 9, 2024 ORDER (ECF 674)
                                                           Case No. 4:21-cv-02155-YGR-VKD
                                               1
     Case 4:21-cv-02155-YGR             Document 688         Filed 03/15/24      Page 3 of 5




 1                    remain sealed from public view. Plaintiffs do not seek to seal the other columns in

 2                    Table 5.

 3               c. Portions of Google’s Opposition to Plaintiffs’ Motion for Class Certification (sealed

 4                    version: ECF 588-3, public redacted version: ECF 583-3) at page 10, FN 9, citing to

 5                    Table 5 in the Expert Class Certification Report of Professor Christopher Wilson,

 6                    Ph.D., submitted by plaintiffs in support of plaintiffs’ Motion for Class Certification,

 7                    at ECF No. 558-6. Plaintiffs respectfully seek only to seal the left-most column of

 8                    Table 5. See ¶ 2(b) immediately above.

 9               d. Portions of the expert report of Google’s expert Aaron Striegel, Ph.D., submitted by

10                    Google as Exhibit 1 to the Somvichian Decl. in support of Google’s Oppn. (sealed

11                    version: ECF 584-1, corrected sealed version: ECF 602-1, corrected public redacted

12                    version: ECF 602-2) at pp. 47-52. Those portions of Dr. Striegel’s report contain

13                    information identifying the named plaintiffs by name and with location coordinates

14                    or describing the “verticals” into which Google classified certain named plaintiffs.

15               e. Portions of the deposition transcript of named Plaintiff Terry Diggs, submitted by

16                    Google as Ex. 7 to the Somvichian Decl. (sealed version: ECF 585-2, public redacted

17                    version ECF 585-1, corrected re-redacted version: 602-5), at 7:8-131, 199:17, 21

18                    and 24, and 200:16. In these excerpts, Ms. Diggs’ private health information and a
19                    particular medical diagnosis she has are discussed;
20               f.   Portions of the deposition transcript of named Plaintiff Rethena Green, submitted by
21                    Google as Ex. 8 to the Somvichian Decl. (sealed version: ECF 585-4, public redacted
22                    version: ECF 585-3), at 40:14 and 40:25. In these excerpts, Ms. Green’s private
23                    health information and her medical diagnosis are discussed;
24               g. Portions of the deposition transcript of named Plaintiff Kimberley Woodruff ,
25                    submitted by Google as Ex. 17 to the Somvichian Decl. (sealed version: ECF 585-
26

27   1
    Page 7 was not redacted in Google’s original filing, ECF 585-2. Google did re-submit the Diggs’
28 deposition transcript with page 7 redacted on Oct. 3, 2023, and moved to correct the record. (ECFs
   601, 602). But ECF 585-2 at 7:8-13 still must be ordered sealed.
         DECL. OF J. LEVINE I.S.O. JOINT OMNIBUS SEALING MOTION RE. PLFS.’ MTN. FOR CLASS
                CERTIFICATION AND RELATED FILINGS PER FEB. 9, 2024 ORDER (ECF 674)
                                                              Case No. 4:21-cv-02155-YGR-VKD
                                                  2
     Case 4:21-cv-02155-YGR           Document 688         Filed 03/15/24      Page 4 of 5




 1                  18, public redacted version: ECF 585-17), at pages 59-63. These excerpts discuss

 2                  Ms. Woodruff’s private medical information and personal information regarding

 3                  private online searches she conducted;

 4              h. Portions of the Expert Class Certification Rebuttal Report of Professor Zubair Shafiq,

 5                  submitted by plaintiffs as Exhibit 43 in support of their Reply (sealed version: ECF

 6                  616-5, public redacted version: ECF 617-3), specifically at the highlighted portions

 7                  of ¶¶ 44, 45 and 47. Those paragraphs reflect personal and private URL and location

 8                  data regarding certain named plaintiffs, produced by Google.

 9         3.       Plaintiffs seek this relief in good faith in order to protect the privacy rights of the

10 named plaintiffs. Good cause exists to seal the information detailed in paragraph 2 (a)-(i) above

11 because the information identified reflects sensitive, personal information concerning the named

12 plaintiffs, including the “verticals” into which Google classified them, their location, and their

13 Google account names which include portions of their personal gmail email addresses, or contains

14 private personal medical information, or reflects private internet searches and use. Plaintiffs have

15 legitimate privacy interests in this information and will be injured if it is made public. This

16 information is relevant to both parties’ briefing with respect to plaintiffs’ Motion for Class

17 Certification, and the request to seal cannot be more narrowly drawn by plaintiffs without injuring

18 them. There is also a compelling need to seal this information to protect the plaintiffs’ personal

19 private medical information, medical diagnoses, web searches, and Gmail account names. There

20 is no need for public access to these very narrow categories of personal private information of the

21 plaintiffs, nor would access to this information provide the public with any understanding of the

22 judicial process

23          I declare under penalty of perjury under the laws of the United States of America and the

24 state of California that the foregoing is true and correct.

25          Executed on this 15th day of March, 2024 in Emeryville, California.

26

27                                                                /s/ Jonathan K. Levine
                                                                  Jonathan K. Levine
28

      DECL. OF J. LEVINE I.S.O. JOINT OMNIBUS SEALING MOTION RE. PLFS.’ MTN. FOR CLASS
             CERTIFICATION AND RELATED FILINGS PER FEB. 9, 2024 ORDER (ECF 674)
                                                           Case No. 4:21-cv-02155-YGR-VKD
                                               3
     Case 4:21-cv-02155-YGR          Document 688        Filed 03/15/24       Page 5 of 5




 1                                          ATTESTATION

 2        Pursuant to Civil L.R. 5-1(h), all signatories concur in this filing.

 3

 4 Dated: March 15, 2024                      /s/ Whitty Somvichian
 5                                            Whitty Somvichian

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     DECL. OF J. LEVINE I.S.O. JOINT OMNIBUS SEALING MOTION RE. PLFS.’ MTN. FOR CLASS
            CERTIFICATION AND RELATED FILINGS PER FEB. 9, 2024 ORDER (ECF 674)
                                                          Case No. 4:21-cv-02155-YGR-VKD
                                              4
